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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Maria R. Martinez
                                      Plaintiff,
v.                                                    Case No.: 1:18−cv−04334
                                                      Honorable Charles R. Norgle Sr.
Caliber Home Loans, Inc., et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 29, 2018:


        MINUTE entry before the Honorable Charles R. Norgle: Motion for extension of
time to answer or otherwise plead [28] is granted. The status hearing set for November 30,
2019 is stricken. The parties are not required to appear before the court on Friday,
November 30, 2018. Status hearing on settlement is set for 1/9/2019 at 10:00 a.m. Mailed
notice(ewf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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